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        ORDERED in the Southern District of Florida on May 5, 2021.



                         UNITED STATES BANKRUPTCY COURT
                                                       Robert A. Mark, Judge
                           SOUTHERN DISTRICT OF FLORIDA
_____________________________________________________________________________
                                                       United States Bankruptcy Court
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

        In re:                                              Case No. 20-20259-RAM
                                                            (Jointly Administered)
        It’Sugar FL I LLC, et al.,
                                                            Chapter 11
              Debtors.
        _______________________________/

         ORDER (I) CONDITIONALLY APPROVING THE DISCLOSURE STATEMENT; (II)
           APPROVING THE BALLOT; (III) SETTING A DATE FOR A CONSOLIDATED
        HEARING ON (A) FINAL APPROVAL OF THE DISCLOSURE STATEMENT AND (B)
          CONFIRMATION OF THE PLAN OF REORGANIZATION; (IV) ESTABLISHING
          AND CONSOLIDATING THE DEADLINES TO FILE (A) OBJECTIONS TO THE
        DISCLOSURE STATEMENT AND (B) OBJECTIONS TO CONFIRMATION OF THE
            PLAN OF REORGANIZATION; (V) APPROVING THE PROCEDURES FOR
          SOLICITATION AND TABULATION OF VOTES ON THE PLAN; (VI) SETTING
           VARIOUS DEADLINES; AND (VII) DESCRIBING THE PLAN PROPONENTS’
                                   OBLIGATIONS

        CONSOLIDATED HEARING ON FINAL APPROVAL OF THE DISCLOSURE STATEMENT
             AND CONFIRMATION HEARING AND HEARING ON FEE APPLICATIONS

                                         DATE AND TIME
                                     June 11, 2021 @ 10:00 a.m.




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                                           LOCATION:
                    Video conference via Zoom Video Communications, Inc.
 To participate in the Consolidated Hearing, you must register in advance no later than 3:00 p.m.
one business date before the date of the Consolidated Hearing. To register, click on the following
                       link or manually enter the following link in a browser:
   https://www.zoomgov.com/meeting/register/vJIsceyuqT4tE-yVagBR9KvKjNeqpKnWfbQ

   For instructions regarding the video conference, please refer to the General Procedures for
       Hearings by Video Conference on Judge Mark’s web page on the Court’s website,
                     https://www.flsb.uscourts.gov/judges/judge-robert-mark

                   DEBTORS’ DEADLINE FOR SERVING THIS ORDER,
                   DISCLOSURE STATEMENT, PLAN, AND BALLOT:
                                  May 6, 2021

                        DEADLINE FOR OBJECTIONS TO CLAIMS:
                                       May 21, 2021
                           (21 days before Confirmation Hearing)

                           DEADLINE FOR FEE APPLICATIONS:
                                        May 21, 2021
                            (21 days before Confirmation Hearing)

 DEBTORS’ DEADLINE FOR SERVING NOTICE OF PROPOSED CURE AMOUNTS FOR
   UNEXPIRED NON-RESIDENTIAL REAL PROPERTY LEASES BEING ASSUMED
                                May 21, 2021
                    (21 days before Confirmation Hearing)

        DEBTORS’ DEADLINE FOR SERVING NOTICE OF FEE APPLICATIONS:
                                  May 28, 2021
                      (14 days before Confirmation Hearing)

                DEBTORS’ DEADLINE FOR FILING PLAN SUPPLEMENT:
                                     June 1, 2021
                         (10 days before Confirmation Hearing)

                   DEADLINE FOR OBJECTIONS TO CONFIRMATION:
                                      June 4, 2021
                          (7 days before Confirmation Hearing)

DEADLINE FOR OBJECTIONS TO FINAL APPROVAL OF DISCLOSURE STATEMENT:
                                June 4, 2021
                    (7 days before Confirmation Hearing)




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          DEADLINE FOR FILING BALLOTS ACCEPTING OR REJECTING PLAN:
                                     June 4, 2021
                         (7 days before Confirmation Hearing)

     DEADLINE FOR OBJECTIONS TO PROPOSED CURE AMOUNT FOR ASSUMED
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
                                  June 4, 2021
                      (7 days before Confirmation Hearing)

                             DEBTORS’ DEADLINE FOR FILING
                 PROPONENTS’ REPORT AND CONFIRMATION AFFIDAVIT:
                                          June 8, 2021
                     (three (3) business days before Confirmation Hearing)

    DEBTORS’ DEADLINE FOR FILING ANY MODIFICATION OF THE SCHEDULE OF
         ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                   June 8, 2021
                       (3 days before Confirmation Hearing)

        The Court conducted a hearing on April 30, 2021 2021 at 10:00 a.m. to consider the

Debtors’ Motion of for Entry of an Order (I) Conditionally Approving the Disclosure Statement;

(II) Approving the Ballot; (III) Setting a Date for a Consolidated Hearing on (A) Final Approval

of the Disclosure Statement, and (B) Confirmation of the Plan of Reorganization; (IV)

Establishing and Consolidating the Deadlines to File (A) Objections to the Disclosure Statement,

and (B) Objections to Confirmation of the Plan of Reorganization; (V) Approving the

Procedures for Solicitation and Tabulation of Votes on the Plan; (VI) Setting Various Deadlines;

and (VII) Describing the Debtors’ Obligations (the “Plan Procedures Motion”) [ECF No. 303].1

        At the hearing, the Court considered conditional approval of the Debtors’ Disclosure

Statement Pursuant to 11 U.S.C. § 1105 for It’Sugar FL I, LLC, It’Sugar, LLC, It’Sugar Atlantic

City, LLC and It’Sugar FLGC, LLC dated April 20, 2021 (as it may be amended or modified, the

“Disclosure Statement”) [ECF No. 302]. The Court having held the hearing to consider the relief

requested in the Plan Procedures Motion and having heard arguments of all interested parties as

1
    Any term not expressly defined herein shall have the meaning ascribed to it in the Plan Procedures Motion.



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noted in the record, the Court hereby conditionally finds that the Disclosure Statement contains

“adequate information” regarding the Plan in accordance with 11 U.S.C. §1125(a). Therefore,

pursuant to 11 U.S.C. §1125(b) and Bankruptcy Rule 3017(b), the Disclosure Statement is

conditionally approved.

       Additionally, this Order approves the form and content of the ballot, in substantially the

form as originally attached as Exhibit B to the Plan Procedures Motion (“Ballot”), and the Court

authorizes the dissemination of the Ballot as part of the Solicitation Packages to be mailed by the

Debtors to creditors in connection with the Solicitation of the Plan.

       This Order sets a Consolidated Hearing to consider final approval of the Disclosure

Statement and confirmation of the Plan (“Consolidated Hearing”), and a hearing on fee

applications and sets forth the deadlines and requirements relating to confirmation provided in

the Bankruptcy Code, Bankruptcy Rules and Local Rules of this Court.

       1.      CONSOLIDATED HEARING TO CONSIDER FINAL APPROVAL OF
               THE DISCLOSURE STATEMENT AND CONFIRMATION OF PLAN
               AND HEARING ON FEE APPLICATIONS.

       The Court has set a hearing to consider final approval of the Disclosure Statement and

confirmation of the Plan for the date and time indicated above as “CONSOLIDATED

HEARING TO CONSIDER FINAL APPROVAL OF THE DISCLOSURE STATEMENT AND

CONFIRMATION HEARING AND HEARING ON FEE APPLICATIONS”. The Consolidated

Hearing may be continued to a future date by notice given in open court.

       2.      DEADLINE FOR OBJECTIONS TO CLAIMS

       The last day for filing and serving objections to claims is indicated above as

“DEADLINE FOR OBJECTIONS TO CLAIMS”. All objections to claims must be filed before




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this date unless the deadline is extended by further order.2

        3.       DEADLINE FOR FILING AND HEARING ON FEE APPLICATIONS

        The last day for filing and serving fee applications is indicated above as “DEADLINE

FOR FEE APPLICATIONS”. All prospective applicants for compensation, including attorneys,

accountants and other professionals, shall file applications which include actual time and costs,

plus an estimate of additional time and costs to be incurred through confirmation. At or prior to

the Consolidated Hearing, applicants must file a supplement with documentation supporting the

estimated time and costs. Fee applications shall be timely filed with the Court and served (with

all exhibits, including documentation of estimated time) on (i) the Debtors; (ii) the plan

proponents (if other than the Debtors); (iii) all committees that have been appointed; (iv) any

chapter 11 trustee or examiner that has been appointed; and (v) the U.S. Trustee.

        Fee applications will be set for hearing together with the Consolidated Hearing. The

Debtors shall serve notice of all fee applications pursuant to paragraph 6 below. The Debtors

shall file a certificate of service as required under Local Rule 2002-1(F).

        4.       DEADLINE FOR OBJECTIONS TO CONFIRMATION

        The last day for filing and serving objections to confirmation of the Plan is indicated

above as “DEADLINE FOR OBJECTIONS TO CONFIRMATION”. Objections to confirmation

shall be filed with the Court and served on: (i) the Debtors; (ii) the plan proponent (if other than

the Debtors); (iii) all committees that have been appointed; (iv) any chapter 11 trustee or

examiner that has been appointed; and (v) the U.S. Trustee.




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    Pursuant to Article VI.5 of the Plan (“Objection Deadline”), and if the Plan is confirmed by the Court, the
    Debtors or Reorganized Debtors, as applicable, shall be authorized to file objections to claims up until 60 days
    after the effective date of the Plan, unless otherwise extended by order of the Court.


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       5.      DEADLINE FOR OBJECTIONS                      TO     FINAL      APPROVAL          OF
               DISCLOSURE STATEMENT

       The last day for filing and serving objections to the approval of the Disclosure Statement

is indicated above as “DEADLINE FOR OBJECTIONS TO APPROVAL OF DISCLOSURE

STATEMENT”. Objections to final approval of the Disclosure Statement shall be filed with the

Court and served on: (i) the Debtors; (ii) the plan proponent (if other than the Debtors); (iii) all

committees that have been appointed; (iv) any chapter 11 trustee or examiner that has been

appointed; and (v) the U.S. Trustee. The objecting party must confer with the Debtors at least

three business days prior to the Confirmation Hearing in an effort to resolve the objection.

       6.      DEADLINE FOR FILING BALLOTS ACCEPTING OR REJECTING
               PLAN

       The last day for filing a ballot accepting or rejecting the plan is indicated above as

“DEADLINE FOR FILING BALLOTS ACCEPTING OR REJECTING PLAN”. All parties

entitled to vote should receive a ballot from the Debtors by U.S. Mail pursuant to paragraph 8(A)

of this Order. If you receive a ballot but your entire claim has been objected to, you will not have

the right to vote until the objection is resolved, unless you request an order under Bankruptcy

Rule 3018(a) temporarily allowing your claim for voting purposes.

       7.      DEADLINE FOR OBJECTIONS TO PROPOSED CURE AMOUNT FOR
               ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       The last day for filing an objection to the proposed cure amount for any assumed

executory contract or unexpired lease, is indicated above as “DEADLINE FOR OBJECTIONS

TO PROPOSED CURE AMOUNT FOR ASSUMED EXECUTORY CONTRACTS AND

UNEXPIRED LEASES”.




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        8.     PLAN PROPONENTS’ OBLIGATIONS

        (A)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR

SERVING THIS ORDER, DISCLOSURE STATEMENT, PLAN, AND BALLOT” the Debtors

shall serve a copy of this Order, the conditionally approved Disclosure Statement (with all

amendments, if amendments were announced by the Debtors or required by the Court at the

disclosure hearing), and the Plan on all creditors, all equity security holders, and all other parties

in interest, as required by the Bankruptcy Rules (including those entities as described in

Bankruptcy Rule 3017(f)) and the Local Rules, including those listed on a “Master Service List”

required to be filed pursuant to Local Rules 2002-1(H). At the time of serving this Order, the

Ballot shall be served via U.S. Mail on all creditors and equity security holders entitled to vote

on the Plan. The Debtors shall file a certificate of service as required under Local Rule 2002-

1(F).

        (B)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR

SERVING NOTICE OF PROPOSED CURE AMOUNTS FOR UNEXPIRED NON-

RESIDENTIAL REAL PROPERTY LEASES BEING ASSUMED”, the Debtors shall serve a

notice of the proposed cure amount if any, for all non-residential real property leases being

assumed upon the counterparty for each such lease. The Debtors shall file a certificate of service

as required under Local Rule 2002-1(F).

        (C)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR

SERVING NOTICE OF FEE APPLICATIONS”, the Debtors shall serve a notice of hearing of

all fee applications, identifying each applicant and the amounts requested. The notice shall be

served on all creditors, all equity security holders, and all other parties in interest as required by

the Bankruptcy and Local Rules, including those listed on a “Master Service List” required to be




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filed pursuant to Local Rules 2002-1(H). The Debtors shall file a certificate of service as

required under Local Rule 2002-1(F).

       (D)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR FILING

PLAN SUPPLEMENT”, the Debtors shall file with the Court any final Plan Supplement.

       (E)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR FILING

PROPONENTS’ REPORT AND CONFIRMATION AFFIDAVIT”, the Debtors shall file with

the Court the Local Form “Certificate of Proponent of Plan on Acceptance of Plan, Report on

Amount to be Deposited, Certificate of Amount Deposited and Payment of Fees,” and the Local

Form “Confirmation Affidavit.” The “Confirmation Affidavit” shall set forth the facts upon

which the Debtors rely to establish that each of the requirements of 11 U.S.C. §1129 are

satisfied. The “Confirmation Affidavit” should be prepared so that by reading it, the Court can

easily understand the significant terms of the Plan and other material facts relating to

confirmation of the Plan. The individual executing the “Confirmation Affidavit” shall be present

at the Consolidated Hearing.

       (F)    On or before the date indicated above as “DEBTORS’ DEADLINE FOR FILING

ANY MODIFICATION OF THE SCHEDULE OF ASSUMED EXECUTORY CONTRACTS

AND UNEXPIRED LEASES”, the Debtors shall file with the Court any final modified Schedule

of Assumed Executory Contracts and Unexpired Leases.

                [REMAINDER OF PAGE LEFT INTENTIONALLY BLANK]




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       If the Debtors do not timely comply with any of the requirements of this Order, the Court

may impose sanctions at the Consolidated Hearing without further notice including dismissal,

conversion of the case to chapter 7, or the striking of the Plan. The Court will also consider

dismissal or conversion at the Consolidated Hearing at the request of any party or on the Court’s

own motion.

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Submitted by:
Joshua W. Dobin, Esq.
Counsel for the Debtors and Debtors-in-Possession
Meland Budwick, P.A.
3200 Southeast Financial Center
200 South Biscayne Boulevard
Miami, FL 33131
Tel. (305) 358-6363
Fax (305) 358-1221
Email: jdobin@melandbudwick.com

Copy to:
Joshua W. Dobin, Esq.
(Attorney Dobin is directed to serve a copy of this Order upon all interested parties, and to file a
Certificate of Service).




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